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         EXHIBIT 16
         Case 1:22-cv-01230-STA-jay Document 75-17 Filed 05/24/23 Page 2 of 2                                            PageID 1587
      2/26/23, 6:02 PM                                                         Gmail - Drivers list




        M Gmail                                                                                       Ryan Brown <wkmilanplant@gmail.com>



        Drivers list
        1 message

       Ryan Brown <wkmilanplant@gmail.com>                                                                              24 May 2022 at 12:03
       To: westkentuckyqdma@gmail.com




          Thank you,
          Ryan Brown
          Weather King Plant MGR.
          3156 N Hwy 605
          Milan NM, 87021
          PH (505) 287-9826
          FAX (505) 287-9837

                                             (WEATHER KING|
          Email wkmilanplant@gmail.com1



               Copy of DRIVERS LOT LIST 12-2-21.xlsx
               20K




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